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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       No. 23-cr-275 (JMC)
                                              :
DAVID SCOTT STAPP,                            :
                                              :
       Defendant.                             :

            UNITED STATES’ OPPOSITION TO DEFENDANT’S MODIFIED
                   MOTION TO TRAVEL INTERNATIONALLY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, files this opposition to defendant David Stapp’s motion to travel to

Bahrain, ECF No. 112. The defendant’s requested international travel would present a flight risk.

The defendant has provided no safeguards to ensure his compliance with his other release

conditions or his return from his international travel. The Court should deny the motion.

       On August 16, 2023, the United States charged the Defendant by Information for offenses

related to the January 6, 2021 riot at the U.S. Capitol. On February 21, 2024, the Defendant pleaded

guilty to Counts Three and Four of the Information, charging violations of 40 U.S.C.

§§ 5104(e)(2)(D) and (e)(2)(G). After granting a prior request for a continuance of his sentencing,

ECF No. 106, the Court set the Defendant’s sentencing hearing for February 6, 2025. Since his

initial appearance, the Defendant has been out of custody and his passport has been held by Pretrial

Services.

       On December 24, 2024, the Defendant moved for permission to travel to the Kingdom of

Bahrain from January 5, 2025, through March 7, 2025, for a potential work opportunity. ECF

No. 108. The Court denied this motion noting the last-minute nature of request made it difficult to

assess. Minute Order December 31, 2024.



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       The defendant now brings another request to travel to the Kingdom of Bahrain. ECF No.

112. The defendant now request travel from January 12, 2025 to January 31, 2025, and the

defendant would be present for the sentencing. Id. 1-2.

       Under the Bail Reform Act, the touchstone of the pretrial detention inquiry is whether a

defendant’s “release will not reasonably assure the appearance of the person as required or will

endanger the safety of any other person or the community.” 18 U.S.C. § 3142(b). Imposition of a

condition or combination of conditions of release may be necessary to achieve such assurance. Id.

§ 3142(c). “[I]n determining whether there are conditions of release that will reasonably assure the

appearance of the person as required and the safety of any other person and the community,” the

Court must take into account the following factors:

       (1) the nature and circumstances of the offense charged. . .

       (2) the weight of the evidence against the person; Case 1:23-cr-00281-CJN Document 25

       (3) the history and characteristics of the person, including—

           (A) the person’s character, physical and mental condition, family ties, employment,

           financial resources, length of residence in the community, community ties, past

           conduct, history relating to drug or alcohol abuse, criminal history, and record

           concerning appearance at court proceedings; and

           (B) whether, at the time of the current offense or arrest, the person was on probation,

           on parole, or on other release pending trial, sentencing, appeal, or completion of

           sentence for an offense under Federal, State, or local law; and

       (4) the nature and seriousness of the danger to any person or the community that would be

       posed by the person’s release . . . .




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Id. § 3142(g). The defendant should be “subject to the least restrictive . . . condition, or

combination of conditions, that [the Court] determines will reasonably assure the appearance of

the person as required and the safety of any other person and the community.” Id. § 3142(c)(1)(B);

see generally United States v. Viau, No. CR 19-09 (CKK), 2019 WL 3412920, at *2 (D.D.C. July

29, 2019). The judicial officer may at any time amend the order to impose additional or different

conditions of release. 18 U.S.C. § 3142(c)(3).

       International travel restrictions are a commonsense restriction. “International travel

restrictions are imposed due to the simple fact that once the defendant leaves the United States,

the District Court, the Pretrial Services Agency, and U.S. law enforcement lose jurisdiction over

him. If a defendant in the United States removes his GPS bracelet or travels beyond his permitted

boundaries, the Pretrial Services Agency can send its officers, U.S. marshals, or local law-

enforcement to search for and detain him. Those options are not available if the defendant takes

those actions while traveling in a foreign country.” United States v. Irizarry, No. 22-3028, 2022

WL 2284298, at *2 (D.C. Cir. June 24, 2022) (Wilkins, J., dissenting). Applying the 3142(g)

factors to this case, no conditions can reasonably assure the Court that the defendant will return

for sentencing, and the trip should be denied. Should the Court disagree, however, it should at the

very least impose additional conditions on the trip to mitigate that risk.

       While the government agrees that if the defendant returned the jurisdictional issues related

to sentencing itself would be resolved, the international travel still creates a flight risk.

Additionally, the request for travel four days before it is scheduled to begin does not allow time

for appropriate consideration of conditions that would ensure the defendant’s return before his

scheduled sentencing. The defendant has provided no indication how this court or Pretrial Services

would communicate with him or monitor him while he is outside the United States. He simply



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requests that the Court allows him to travel internationally without any safeguards in place to

mitigate the risk of flight.

        The defendant has pleaded guilty to serious offenses stemming from the riot at the U.S.

Capitol, and the Court is obligated to enforce conditions of release that will ensure his appearance

at sentencing. See 18 U.S.C. § 3143(a). While the United States has not finalized its sentencing

position for the Defendant, the offenses to which the Defendant pleaded guilty carry potential

terms of imprisonment of up to six months.

        Therefore, for the foregoing reasons, the government respectfully requests the Court should

deny the Defendant’s motion. If the Court is inclined to entertain the motion further, the United

States requests that the Court set a status conference to discuss conditions that would ensure the

defendant’s return to the United States.



                                              Respectfully submitted,

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